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                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA

                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          EASTERN DIVISION

DALLAS WELDON,                        )
                                      )
     Plaintiff,                       )
                                      )
v.                                    )         Civil Action No. - - - - - - -
                                      )
NATCH'S LLC,                          )
a domestic limited liability company, )
                                      )
     DefundanL                        )
                                      )

                                     COMPLAINT

       Plaintiff, Dallas Weldon, by and through his counsel as undersigned, hereby

files this Complaint and sues Natch's LLC, an Alabama limited liability company,

for injunctive relief, for attorneys' fees, litigation expenses and costs pursuant to 42

U.S.C. § 12181 et seq., ("Americans with Disabilities Act" or "ADA"), and alleges

as follows:

                          JURISDICTION AND PARTIES

      1.       This is an action for declaratory and injunctive relief pursuant to Title

III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq., (hereinafter

referred to as the "ADA"). This Court is vested with original jurisdiction under 28

U.S.C. § 1331 and 28 U.S.C. § 1343.




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      2.      Venue is proper in the Northern District of Alabama pursuant to 28

U.S.C. § 1391(b) in that all events giving rise to this lawsuit occurred in this District,

specifically Talladega County.

      3.      Plaintiff, Dallas Weldon, (hereinafter referred to as "Weldon" or

"Plaintiff'') is a resident of the State of Alabama and suffers from what constitutes a

"qualified disability" under the ADA. Since the age of 16, Weldon has suffered from

physical impairments associated with paraplegia resulting from injuries to his spine

which he sustained due to a fall from elevation. Weldon is bound to a wheelchair as

his condition absolutely inhibits the major life activity of walking and substantially

limits him in the exercise of normal bodily functions. As a result of his years of

paralysis, Weldon also has limited function and dexterity in the use of his hands and

fingers. Prior to filing this lawsuit and within the applicable statute of limitations

period, Plaintiff personally visited Natch' s BBQ & Grill at 33565 US Highway 280,

Childersburg, Alabama, but was denied full, safe, and equal access to, and full and

equal enjoyment of, the subject property due to the Defendant's lack of compliance

with the ADA and more specifically, the barriers to access listed in Paragraph 24,

below, that he personally encountered. Weldon continues to desire and intends to

visit the Defendant's premises but continues to be denied full, safe, and equal access

due the barriers to access that continue to exist.

      4.      Defendant, Natch's LLC, (hereinafter referred to as "Defendant") an


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Alabama limited liability company, is authorized to conduct, and is conducting,

business within the State of Alabama. Upon information and belief, Defendant,

Natch's LLC, is the owner/operator of the business which is the subject of this

action, the barbeque restaurant and grill known as Natch's BBQ & Grill at 33565

US Highway 280, Childersburg, Alabama. As such, Defendant maintains control

over the subject location and at all times relevant hereto participated in the design,

construction and/or decisions regarding any subsequent necessary and/or required

modifications of same.

      5.      All events giving rise to this lawsuit occurred in the State of Alabama.

Venue is proper in this Court as the premises are located in Childersburg of

Talladega County, in the Northern District, Eastern Division.

                         COUNT I - VIOLATION OF THE ADA

      6.      On July 26, 1990, President George H.W. Bush signed into law the

Americans with Disabilities Act ("ADA"), a comprehensive civil rights law

prohibiting discrimination on the basis of disability.

       7.     The ADA broadly protects the rights of individuals with disabilities in

employment, access to State and local government services, places of public

accommodation, transportation, and other important areas of American life.

      8.      Title III of the ADA prohibits discrimination in the activities of places

of public accommodation and requires places of public accommodation to comply


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with ADA standards and to be readily accessible to, and independently usable by,

individuals with disabilities. 42 U.S.C. § 12181-89.

        9.      One year after the enactment of the ADA, on July 26, 1991, the

Department of Justice ("DOJ'') issued rules implementing Title III of the ADA,

which are codified at 28 CFR Part 36. 1

        10.     Appendix A of the 1991 Title III regulations (republished as Appendix

D to 28 CFR part 36) contains the ADA standards for Accessible Design (1991

Standards), which were based upon the Americans with Disabilities Act

Accessibility Guidelines (1991 ADAAG) published by the Access Board on the

same date. 2



1
  The DOJ is the administrative agency charged by Congress with implementing the
requirements of the ADA.

2
  The Access Board was established by section 502 of the Rehabilitation Act of 1973. 29 U.S.C.
§ 792. The Board consists of 13 public members appointed by the President, the majority of
whom must be individuals with disabilities, and the heads of the 12 Federal departments and
agencies specified by statute, including the heads of the Department of Justice and the
Department of Transportation. Originally, the Access Board was established to develop and
maintain accessibility guidelines for facilities designed, constructed, altered, or leased with
Federal dollars under the Architectural Barriers Act of 1968. 42 U.S.C. § 4151 , et seq. The
passage of the ADA expanded the Access Board's responsibilities. The ADA requires the Access
Board to "issue minimum guidelines ... to ensure that buildings, facilities, rail passenger cars,
and vehicles are accessible, in terms of architecture and design, transportation, and
communication, to individuals with disabilities." 42 U.S.C. § 12204. The ADA requires the DOJ
to issue regulations that include enforceable accessibility standards applicable to facilities subject
to Title III that are consistent with the "minimum guidelines" issued by the Access Board, 42
U.S.C. § 12134(c), 12186(c), but vests with the Attorney General sole responsibility for the
promulgation of those standards that fall within the DOJ' s jurisdiction and enforcement of the
regulations. The ADA also requires the DOJ to develop regulations with respect to existing
facilities subject to Title III.


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        11.    In 1994, the Access Board began the process of updating the 1991

ADAAG by establishing a committee composed of members of the design and

construction industries, the building code community, and State and local

government entities, as well as individuals with disabilities.

        12.    The Access Board issued final publication of revisions to the 1991

ADAAG on July 23, 2004 ("2004 ADAAG").

        13.    On September 30, 2004, the DOJ issued an advance notice of proposed

rulemaking to begin the process of adopting the 2004 ADAAG.

        14.    On June 17, 2008, the DOJ published a notice of proposed rulemaking

covering Title III of the ADA.

        15.    The long-contemplated revisions to the 1991 ADAAG culminated with

the DOJ's issuance of The 2010 Standards for Accessible Design ("2010

Standards"). The DOJ published the Final Rule detailing the 2010 Standards on

September 15, 2010. The 2010 Standards consist of the 2004 ADAAG and the

requirements for readily achievable barrier removal in existing facilities contained

in subpart C of 28 CFR part 36.304. 3

       16.     Pursuant to 42 U.S.C. § 12181(7) and 28 C.F.R. § 36.104, the building,




3
  As of March 15, 2012, mandatory and complete compliance with the 2010 Standards is
required of existing facilities that fail to comply with the corresponding technical and scoping
specifications of the 1991 Standards.


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facility, parking facilities, and/or otherwise related facilities where Natch's BBQ &

Grill is located at 33565 US Highway 280, Childersburg, Alabama is a place of

public accommodation covered by the ADA and which must be in compliance

therewith; to wit: a barbeque restaurant and grill which provides food, beverages,

and other related merchandise and services to the public. 4

        17.     To assist businesses in offsetting the costs associated with complying

with the ADA, Section 44 of the IRS Code provides a tax credit for small businesses

and a tax deduction for all businesses, including the Defendant. The tax credit is

available to businesses that have total revenues of $1 ,000,000 or less in the previous

tax year or 30 or fewer full-time employees. This credit can compensate $5,000 of

eligible access expenditures made per year. This tax credit is made available to

businesses for the express purpose of offsetting the costs of undertaking barrier

removal and alterations to improve accessibility for the disabled. The tax deduction

of $15,000 per year is available to all businesses and can be claimed by the

Defendant for expenses incurred in barrier removal and alterations.


4
  The classification of facilities as "new construction", "alterations", or "existing facilities" under
the ADA is neither static nor mutually exclusive. For the purposes of establishing a continuing
obligation for barrier removal, newly constructed or altered facilities are also existing facilities.
As such, a newly constructed facility is not only subject to the accessibility standards in effect at
the time of design and construction, but also after construction, this same facility is also an
existing facility. Therefore, in addition to the new construction requirements, a public
accommodation has a continuing obligation to remove barriers that are deemed barriers, only
after constrnction. Such barriers include but are not limited to the elements that are first covered
in the 2010 Standards. 28 CFR 36.104, Subpart A.


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      18.      Compliance with 42 U.S.C. § 12182(b)(2)(A)(iv) is readily achievable

by the Defendant due to the low costs of removing its existing architectural barriers

and the government assistance made available to Defendant pursuant to Section 44

of the IRS Code.

      19.      Defendant has discriminated, and continues to discriminate, against

Plaintiff, and others who are similarly situated, by denying equal access to, and full

and equal enjoyment of goods, services, facilities, privileges, advantages and/or

accommodations at Natch' s BBQ & Grill located at the subject facility owned,

operated, leased, controlled, maintained, and/or administered by Defendant, Natch ' s

LLC, in derogation of 42 U.S.C. § 12101 et seq., and as prohibited by 42 U.S.C. §

12182 et seq. , and by failing to remove architectural barriers where such removal is

readily achievable.

     20.       Pursuant to the ADA, 42 U.S.C. § 12101 et seq. , 28 C.F.R. § 36.304

and/or§ 36.401 , Defendant is required to remediate the subject facility, a place of

public accommodation, to be accessible to persons with disabilities. To date,

Defendant has failed to comply with this mandate and in so doing, has engaged in

conduct and acts of omission that subject Plaintiff to discrimination solely on the

basis of his disability. This conduct or acts of omission by Defendant constitutes

deliberate, knowing and intentional discrimination against Plaintiff.

      21.      Plaintiff has been unable to and continues to be unable to enjoy equal


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access to, and the benefits of equal services at the subject location owned, operated,

leased, controlled, maintained, and/or administered by Defendant. Prior to the filing

of this lawsuit, Plaintiff visited the subject property and was denied full, safe, and

equal access to all of the benefits, accommodations and services offered within and

about the subject facility owned, operated, leased, controlled, maintained, and/or

administered by Defendant, Natch's LLC. Plaintiffs access was inhibited by and he

personally encountered each of the described barriers to equal access detailed in this

Complaint which remain at the subject location in violation of the ADA. Because of

the foregoing, Plaintiff has suffered an injury-in-fact in precisely the manner and

form that the ADA was enacted to guard against.

      22.    Plaintiff resides in Kellyton, Alabama, a rural community in Coosa

County which abuts Talladega County where the subject facility is located. Plaintiff

frequently travels to the area of the subject facility as it is on the direct route from

his home to his attorney's office in Birmingham. Plaintiff also travels to the area of

the subject facility to visit stores, restaurants, and other places of public

accommodation not available to him and his family within his rural home

community.

      23.    Plaintiff continues to desire and intends to visit the subject Natch's

BBQ & Grill in Childersburg, Alabama in the future with the same frequency as he

has previously, but continues to be injured in that he is unable to enjoy equal access


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and continues to be discriminated against due to the barriers to equal access that

remain at and about the subject location in violation of the ADA. Absent remedial

action by Defendant, Plaintiff will continue to encounter the architectural barriers to

equal access described herein and as a result, be discriminated against by Defendant

on the basis of his disability. Plaintiff has been discriminated against and continues

to have reasonable grounds for believing that he will be discriminated against in the

future because of Defendant's continuing deliberate and knowing violations of the

ADA. Due to the definiteness of his future plans to visit the subject facility, there

exists a genuine threat of imminent future injury.

      24.     Defendant's subject facility is in violation of 42 U.S.C. § 12181 et seq.,

the ADA and 28 C.F .R. § 36.302 et seq., and is discriminating against Plaintiff as a

result of inter alia, the following specific violations:

      a.      Failure to provide an accessible parking space with the requisite access

aisle within the parking lot which meet the minimum requirements for accessible

parking under the ADA;

      b.      Failure to provide an.accessible route for equal access from the existing

parking spaces into the facility;

      c.      Failure to provide accessible seating within the facility for equal access

to the interior and exterior dining areas for people in wheelchairs;

      d.      Failure to provide an accessible cashier counter which meets the


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minimum requirements for equal access to people in wheelchairs;

      e.           Failure to construct and/or modify restrooms for accessibility

including, but not limited to, failing to:

              1.        provide operable restroom door hardware which does not require

tight grasping, pinching, and/or twisting of the wrist to open/close and/or lock the

door once inside;

             11.        provide an accessible toilet which is located within the maximum

acceptable distance to the near side wall for equal access to people in wheelchairs so

that they may transfer from their wheelchair to the toilet without added difficulty;

            111.        provide rear or side wall grab bars for the toilet;

             1v.        provide a toilet with its flush lever mounted on the open side of

the single user restroom for equal access to people in wheelchairs;

             v.         provide an accessible lavatory with the requisite clear space for

maneuverability and access to people in wheelchairs;

             v1.        position the existing lavatory mirror at an accessible height for

individuals with disabilities;

            v11.        position the existing hand towel dispenser within the maximum

requisite reach range for equal access to people in wheelchairs;

           v111.        position the existing hand soap dispenser within the maximum

requisite reach range for equal access to people in wheelchairs;


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      25.    There are other current barriers to equal access and violations of the

ADA which affect persons which utilize wheelchairs for mobility, such as Plaintiff,

that exist at the subject facility which have not been specifically identified herein as

Plaintiff is not required to engage in a futile gesture pursuant to 28 C.F.R. Part 36, §

36.501 and, as such, only after a full inspection is performed by Plaintiff or

Plaintiffs representatives can all said violations be identified.

      26.    The barriers to equal access described herein constitute substantial and

pervasive discriminatory barriers to equal access which seriously affect the civil

rights of individuals with disabilities, including Plaintiffs. None of the barriers

described herein constitute de minimus violations of the ADA. To date, the

discriminatory barriers still exist at the subject facility as Defendant has failed to

remove, repair, or otherwise alter said barriers in such a way as to effectuate

compliance with the provisions of the ADA.

      27.    The remediation of barriers and accommodations sought by Plaintiff in

this Complaint are readily achievable, technically feasible, structurally practicable,

will not result in a significant loss of marketing and/or sales space, will not cause an

undue burden on Defendant, will not alter the fundamental nature of Defendant's

business, and will not pose a direct threat to the health or safety of others.

      28.    Plaintiff has been obligated to retain undersigned counsel for the filing

and prosecution of this action. Plaintiff is entitled to have his reasonable attorneys '


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fees, costs and expenses paid by Defendant, pursuant to 42 U.S.C. § 12205.

       29.    Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

to grant Plaintiff injunctive relief; including an Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA and closing the subject facilities until the requisite

modifications are completed.

       WHEREFORE, Plaintiff hereby requests judgment against Defendant and

requests the following relief:

       A.     That the Court declare that the subject property and subject facility

owned, operated, leased, controlled, maintained, and/or administered by Defendant

is violative of the ADA;

      B.      That the Comi enter an Order requiring Defendant to alter its facilities

to make them accessible to and usable by individuals with disabilities to the full

extent required by Title III of the ADA;

       C.    That the Court enter an Order requiring Defendant to cease business

operations at the subject facility for such reasonable time so as to allow Defendant

to evaluate and neutralize its policies, practices and procedures toward persons with

disabilities, and undertake and complete corrective procedures;

      D.     That the Court award reasonable attorneys' fees, costs, (including

expert fees) and litigation expenses, and such other and further relief of suit, to


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Plaintiff; and

      E.     That the Court award such other and further preventive relief as it

deems necessary, just and proper.


      Dated this the   !JO fh   day of   Wlcu:vh        , 2017.



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